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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

YOLANDA ELLIS, next friend of
Minor MN,

            Plaintiff,                          Case No. 4:24-cv-11591

v.                                              Hon. Shalina D. Kumar
                                                Mag. Judge David R. Grand
YPSILANTI COMMUNITY SCHOOLS,
JOSH SMITH, ALENA ZACHERY-ROSS,
CHARLES DAVIS, JR., JEANINA HARRIS,
and CHARLES PAYNE, in their individual
capacity,

            Defendants.
 KARA WEISMAN (P80837)                   MICHAEL D. WEAVER (P43985)
 Vahdat Weisman Law                      ERIK BRADBERRY (P86793)
 Attorney for Plaintiff                  Plunkett Cooney
 17197 N. Laurel Park Dr., Ste. 500      Attorney for Defendants Ypsilanti
 Livonia, MI 48152                       Community Schools, Alena Zachery-
 (734) 469-4994                          Ross, Charles Davis, Jr., Jeanina
 kara@thevwlaw.com                       Harris, and Charles Payne
                                         38505 Woodward Ave., Ste. 100
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                                         JOHN J. GILLOOLY (P41948)
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                         STIPULATED PROTECTIVE ORDER
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      This matter having come before this Honorable Court upon stipulation of

the parties, through their respective counsel, and the Court being otherwise

fully advised in the premises;

      IT IS HEREBY ORDERED that:

      1.    Each of the parties to this action upon whom or which a discovery

request, including a subpoena duces tecum, has been or shall be served by any

party to this action may designate as “confidential” any documents produced,

when such materials refer or relate to, or would otherwise disclose,

information of a personal, proprietary or confidential business nature as

defined below.

            (a)   “Confidential” is defined as any type or classification of

information, whether originals, copies, or in redacted form, or whether in oral

deposition testimony (transcript or videotape), interrogatory responses or

responses to request for admissions, consisting of business or financial records,

Plaintiff’s medical or psychiatric records, and any other personal documents or

information of the parties or their employees including departmental policies,

procedures, rules and regulations, personnel files, including training records,

photos, videos and personnel information as well as any other writing as

defined by the Federal Rules of Evidence, reflecting confidential, commercial or

personal information that counsel for any of the partied has in good faith


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designated as confidential. This paragraph does not prohibit the parties from

claiming a privilege and does not waive any party’s right to assert privilege and

to not produce such document.

      2.    Material designated “confidential” shall be used by the party

receiving the material solely in the prosecution or defense of this action.

      3.    Material designated as “confidential” shall be held in confidence by

the party requesting the documents and his/her/its representatives; counsel

for that party and professional, clerical, secretarial or other support personnel

of such counsel; a person not an attorney retained by that party or counsel to

assist in litigation such as accountants and experts, court reporters retained in

connection with depositions in this litigation; and witnesses at deposition

(collectively, the “receiving party”); none of whom shall permit disclosure of

the documents, except for purposes necessary to this litigation. The receiving

party shall neither grant nor permit any other person to have access to any

material designated as “confidential,” or inform any other person of the

existence of such material or of any of the contents thereof without submitting

this order to the receiving person.

      4.    The inadvertent disclosure or production by any party of any

document protected by the attorney-client or other privilege by the attorney




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word product doctrine shall not constitute, be construed as, or have the effect

of a waiver of such privilege or protection.

      5.    “Confidential” material marked as an exhibit in a deposition or

other discovery documents remains confidential and may not be disclosed by

the receiving party except in accordance with this order.

      6.    The parties agree that any documents that have been designated as

confidential that are used during a deposition will be treated in accordance

with the stipulated protective order. By entering into this protective order,

Defendants do not waive the right to file a motion for a protective order to have

any portions of a deposition transcript marked as “confidential” but must do so

within 21 days of the date the deposition was taken.

      7.    The provisions set forth in paragraph 3 above apply for a party’s

designation or assertion of the deliberative process privilege. To the extent

such a designation and/or privilege is asserted, the party asserting the

designation/privilege shall provide the basis for its assertion. To the extent the

party asserts that the privilege precludes the production of documents and/or

material, the asserting party shall produce a privilege log to all parties. Any

disciplinary records contained in these files will be redacted to remove

privileged information, such as conclusions of investigators or disciplinary

actions, pursuant to the executive/deliberative process privilege. Defendants


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will produce a privilege log for redacted information. Nothing in this order

prevents Plaintiff from challenging an assertion of executive/deliberative

privilege, if necessary.

      8.     Correction of Designation and Clawback.

             (a)   A producing party that failed to designate documents as

“Confidential Material” at the time of its production shall be entitled to make a

correction to its designation. Such correction and notice thereof shall be made

in writing, accompanied by substitute copies of each items of materials,

appropriately designated. Upon receipt of a notice of correction, the receiving

party shall place the appropriate marking on the document to reflect its altered

confidentiality status and certify that the original and all copies of the document

have been appropriately marked. The obligation to treat such material

pursuant to the corrected designation shall be prospective only, and those

individuals who receive the mis-designated discovery material prior to notice

of the mis-designation by the producing party shall abide by the provisions of

this Order with respect to all future use and disclosure of any information

contained in the mis-designated materials.

             (b)   A producing party that inadvertently produces any

document or other information during discovery in this litigation that the

producing party has a good faith reason to believe is privileged under the


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attorney-client or other privilege, or protected from discovery as work product,

may, upon discovery of such inadvertent production, request the return of such

document or information. In the event the receiving party objects to the return

of the document, the receiving party shall move the Court for an order as to

whether the production was inadvertent or whether the document or

information is otherwise privileged or protected from discovery. All materials

related to the inadvertently produced document or information, and motion,

shall be treated as “Confidential Material” pursuant to this Order, unless

otherwise ordered by the court. If such a motion is made within thirty (30) days

of receiving the notice from the producing party of its claim of inadvertent

production, the receiving party may retain the produced document or

information until the Court resolves the motion. If no such motion is made

within thirty (30) days, the document or information and all copies shall be

returned to the producing party and the receiving party will not be entitled to

retain the document or information in any way. Failure to move within thirty

(30) days and/or return the produced document or information shall not be

deemed a waiver of such objection nor preclude subsequent motion by the

receiving party. If the receiving party disclosed the document or information

before being notified, it must notify the producing party as to the manner in




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which the material was disclosed and to whom, and certify in writing that it has

requested the return of the document or information.

            (c)    If “Confidential Material” is disclosed by a receiving party to

anyone other than in a manner authorized by this Order, the receiving party

responsible for that disclosure must immediately bring all pertinent facts

related to that disclosure to the attention of the producing party of the

“Confidential Material” and make every reasonable effort to retrieve it and to

prevent further disclosure.

      9.    Materials designated as “confidential” may be used in any

proceeding in this action, including, but not limited to:

            (a)    Discovery depositions;

            (b)    Motions, briefs and pleadings;

            (c)    Argument before the court;

            (d)    Trial or appeal.

If any party wishes to use “Confidential Material” in connection with any brief,

argument or filing in this action, the “Confidential Material” shall be submitted

and filed under seal and shall be maintained by the Court under seal. Such

“Confidential Material” so filed shall not be made available to anyone other than

the court, its clerks and the parties/attorneys.




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      10.   If a party believes that information designated by another party as

“confidential” should not be treated as confidential pursuant to this Protective

Order, that party may contest the designation for such document(s) by

providing opposing counsel with written notice as to the specific information

being challenged, together with identification of the document by bate stamp.

In the event that parties cannot resolve this disagreement, the party who

designated the document as “confidential” may file a motion seeking a

resolution of the challenges within fourteen (14) days of notice or waive same

designation. Unless the designating party has waived the designation by failing

to timely file a motion, the parties shall treat the information as subject to this

Order until the matter is resolved by the Court or otherwise. It shall be the

burden of the party designating the information, testimony or documents as

confidential to demonstrate why the confidential designation should be upheld

in the event of a challenge.

      11.   At the conclusion of this action, including the exhaustion of all

appeals, a party receiving materials designated as “confidential” shall destroy

or return information and/or documents, except for information that can be

obtained through the Freedom of Information Act, including but not limited to

information containing compensation, benefits, disciplinary action, citizen

complaints, internal investigations, policies and procedures, pursuant to the


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producing party’s instruction and at the producing party’s expense. If the

receiving party chooses to destroy the materials, rather than returning them,

the receiving party shall confirm in writing to the producing party that the

documents were destroyed.

         12.      This Order may be modified upon written stipulation of the parties

or by the Court, upon motion of any party, for good cause shown.

         IT IS SO ORDERED.

                                                s/David R. Grand
                                                HON. DAVID R. GRAND
Dated: 2/4/25                                   United States Magistrate Judge


Approved as to form and substance by:

/s/ Kara Weisman (w/permission)
KARA WEISMAN (P80837)
Vahdat Weisman Law
Attorney for Plaintiff

/s/ Erik Bradberry
ERIK BRADBERRY (P86793)
Plunkett Cooney
Attorney for Defendants Ypsilanti Community Schools, Alena Zachery-Ross,
Charles Davis, Jr., Jeanina Harris, and Charles Payne


/s/ John Gillooly (w/permission)
JOHN GILLOOLY (P41948)
Garan Lucow Miller
Attorney for Defendant Josh Smith

Dated: January 29, 2025
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